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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §     CASE NO. 6:15CR77(06)
                                                §
 GENA ELIZABETH ROWLEY                          §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

 On November 29, 2016 this cause came before the undersigned United States Magistrate Judge

 for entry of a guilty plea by the defendant, Gena Elizabeth Rowley of a lesser included

 offense of Count Two of the charging Superseding Indictment filed in this cause.

        The lesser included offense of Count Two of the Superseding Indictment charges a

 violation of 21 U.S.C. § 846, conspiracy to possess with intent to distribute and distribution of

 methamphetamine and cocaine base. The indictment charges the defendant with conspiracy to

 distribute 50 grams or more of actual methamphetamine; however, the defendant agrees to enter a
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 guilty plea to the lesser included offense of conspiracy to distribute 5 grams or more of actual

 methamphetamine.

        Defendant, Gena Elizabeth Rowley, entered a plea of guilty to a lesser included offense of

 Count Two of the Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.   That Defendant, after consultation with counsel of record, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.   That Defendant and the Government have entered into a plea agreement and a plea

 agreement addendum which were addressed in open court and entered into the record.

        c.   That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

 of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant personally

 in open court, the Court determines that Defendant’s plea is voluntary and did not result from

 force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

        d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that his conduct falls within the definition of the crimes charged under 21 U.S.C. § 846.




                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis. In support, the Government and Defendant stipulated that if this case were to
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 proceed to trial the Government would prove beyond a reasonable doubt, through the sworn

 testimony of witnesses, including expert witnesses, as well as through admissible exhibits, each

 and every essential element of the crime charged in Count Two of the Superseding Indictment.

 The Government would also prove that the defendant is one and the same person charged in the

 Indictment and that the events described in the Indictment occurred in the Eastern District of Texas

 and elsewhere. The Court incorporates the proffer of evidence described in detail in the factual

 basis and stipulation in support of the guilty plea.

        Defendant, Gena Elizabeth Rowley, agreed with and stipulated to the evidence presented

 in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that she was entering her guilty

 plea knowingly, freely and voluntarily.



                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned determines

 to be supported by an independent factual basis establishing each of the essential elements of the

 lesser included offense charged in Count Two of the charging Superseding Indictment on file in

 this criminal proceeding. The Court also recommends that the District Court accept the plea

 agreement and plea agreement addendum pursuant to the Local Rules for the United States District

 Court for the Eastern District of Texas and Federal Rule of Criminal Procedure 11(c). Accordingly,

 it is further recommended that, Defendant, Gena Elizabeth Rowley, be finally adjudged as guilty

 of the charged offense under Title 21, United States Code, Section 846. Defendant is ordered

 to report to the United States Probation Department for the preparation of a presentence report. At

 the plea hearing, the Court admonished the Defendant that the District Court may reject the plea
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 and that the District Court can decline to sentence Defendant in accordance with the plea

 agreement and addendum, the federal sentencing guidelines and/or the presentence report because

 the sentencing guidelines are advisory in nature. The District Court may defer its decision to

 accept or reject the plea agreement and addendum until there has been an opportunity to consider

 the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the

 Court will advise Defendant in open court that it is not bound by the plea agreement and Defendant

 may have the opportunity to withdraw the guilty plea, dependent upon the type of the plea

 agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea agreement is rejected and Defendant still

 persists in the guilty plea, the disposition of the case may be less favorable to Defendant than that

 contemplated by the plea agreement or addendum. Defendant has the right to allocute before the

 District Court before imposition of sentence.



                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure

 to object bars that party from: (1) entitlement to de novo review by a district judge of proposed

 findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

 (2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

 conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d

 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the

 courts require that, when a party takes advantage of his right to object to a magistrate’s findings

 or recommendation, a district judge must exercise its nondelegable authority by considering the

 actual evidence and not merely by reviewing and blindly adopting the magistrate’s report and

 recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

 Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).
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     So ORDERED and SIGNED this 1st day of December, 2016.
